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 Joshua L. Weiner, Esq.(1W5875)
 BUDD LARNER,P.C.
 150 John F. Kennedy Parkway
 Short Hills, NJ 07078-0999
(973) 379-4800
 Attorneys for Defendant

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 WALTER F. SUHAKA and LILLIAN
 SUHAKA,                                                 Civil Action No.

                         Plaintiff,

            v.                                            NOTICE OF REMOVAL

 TOWNSHIP OF WAYNE,

                         Defendant.



TO:        THE HONORABLE JUDGES OF THE
           UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF NEW JERSEY

           Defendant Township of Wayne ("Defendant") by and through its attorneys, Budd

Lamer,P.C., respectfully states:

           1.    Plaintiffs Walter F. Suhaka and Lillian Suhaka (collectively "Plaintiffs")

commenced the above-captioned action on or about February 21, 2017 by filing a Complaint in

the Superior Court of New Jersey, Passaic County entitled Walter F. Suhaka, et al. v. Township

of Wayne, Docket No. PAS-L-000594-17. Said action is now pending in that Court.

           2.    True and correct copies of the Summons and Complaint, which are the only

processes, pleadings, or orders served on Defendant, are attached hereto as Exhibit A.




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           3.   On March 2, 2017, Plaintiff served on Defendant a copy of a Summons and

Complaint that had been filed on February 21, 2017. Thus, Defendant's first notice of the

existence of any pleading containing a claim for relief asserted by Plaintiffs which could be

removed to this Court occurred on March 2, 2017.

           4.   The above-captioned action is a civil action over which this Court has jurisdiction

pursuant to 28 U.S.C. § 1331 in that Plaintiff alleges violations of the Age Discrimination in

Employment Act, 29 U.S.C. § 621, et seq.

           5.   This Notice of Removal is filed within the time provided by 29 U.S.C. § 1446(b)

and the Federal Rules of Civil Procedure.

           6.   Upon the filing of this Notice of Removal, Defendant shall give written notice

thereof to John J. Segreto, Esq., attorney for Plaintiffs, and Defendant shall file copies of said

Notice and Notice of Filing of Removal with the Court Clerk, Superior Court of New Jersey,

County of Passaic.

           7.   By filing this notice, Defendant does not waive any defenses which may be

available to it, specifically including, but not limited to, the absence of venue in this Court or in

the Court from which this action has been removed.

           8.   There are no other defendants in this case and so no further consent for removal is

needed.




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           WHEREFORE,Defendant Township of Wayne removes the above-captioned action now

pending against it in the Superior Court of New Jersey, Passaic County, to the United States

District Court for the District of New Jersey, wherein it shall proceed as an action originally

commenced therein.

                                           BUDD LARNER,P.C.


                                           By:
                                                            Weiner, Esq.(JW-5875)

Dated: March 24, 2017




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  Attorney (s):       John J. Segreto, Esq. NJ Attorney ID#022611991
  Office Address & Tel. No.: 329 Belmont Avenue, Haledon, NJ 07508 (973) 389-1999
  Attorney (s)for Plaintiffs

                                                        SUPERIOR COURT OF NEW JERSEY
                                                                        LAW DIVISION
                                                                     PASSAIC COUNTY
  WALTER F. SUHAKA and LILLIAN
  SUHAKA

                    Plaintiffs
                                                        DOCKET NO.PAS-L-000594-17
  vs.
                                                                CIVIL ACTION

  TOWNSHIP OF WAYNE
                                                                 SUMMONS


                   Defendant


  From the State of New Jersey                          Township of Wayne
  To the Defendant(s) Named Above:                      475 Valley Road
                                                        Wayne, NJ 07470

  The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint
  attached to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must
  file a written answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed
  above within 35 days from the date you received this summons, not counting the date you received it, (A directory
  of the addresses of each deputy clerk of the Superior Court is available in the Civil Division Management Office in
  the county listed above and online at http://www.iudiciary.state.ni.us/pro se/10153 deputy elerIclawref.pdf.) If
  the complaint is one in foreclosure, then you must file your written answer or motion and proof of service with the
  Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable
  to the Treasurer, State of New Jersey and a completed Case Information Statement must accompany your answer
  or motion when it is filed, You must also send a copy of your answer or motion to plaintiff's attorney whose name
  and address appear above, or to plaintiff, if no attorney is named above. A telephone call will not protect your
  rights; you must file and serve a written answer or motion (with fee of $135.00 and a completed Case Information
  Statement) if you want the court to hear your defense.

    If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against
  you for the relief plaintiff demands, plus interest and costs of suit. Ifjudgment is entered against you, the Sheriff
  may seize your money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
  Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney
  and are not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer
  Referral Services. A directory with contact information for Local Services Offices and Lawyer Services Offices and
  Law Referral Services is available in the Civil Division Management Office in the county listed above and online at
  http://www.judiciary.state.nj.us/pro se/10153 deputy elerklawref. df.


  Dated: February 28, 2017                     J nnifer M. erez, Clerk ofthe Superior Court



  Name of Defendant to be Served:    Township of Wayne
  Address of Defendant to be Served: 475 Valley Road
                                     Wayne, NJ 07470
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 John J.'Segreto, Esq. NJ Attorney ID#022611991
 SEGRETO & SEGRETO,LLP
 329 Belmont Avenue
 Haledon, NJ 07508
(973)3891999
 Attorneys for Plaintiffs

                                                SUPERIOR COURT OF NEW JERSEY
 WALTER F. SUHAKA and                           LAW DIVISION: PASSAI CQUMFY
 LILLIAN SUHAKA                                 DOCKET NO.     -/)I
                                                                         L.,
                 Plaintiffs                                  Civil Action

 vs.                                                        COMPLAINT

 TOWNSHIP OF WAYNE

                Defendant


         The Plaintiffs, Walter F. Suhaka and Lillian Suhaka residing at 27 Dupont Terrace, in the

 Township of Wayne, County of Passaic and State of New Jersey by way of Complaint against

• the Defendant state:

                                         FIRST COUNT

         1.     The Plaintiff, Walter F. Suhaka was employed by the Defendant, Township of

 Wayne from October 16, 1970 to his retirement on December 31, 1995.

        2       At the time of his retirement, the Plaintiff, Walter F, Suhaka was the Deputy

 Chief ofPolice having served in the Police Department for over 25 years.

        3.      At the time of Plaintiff, Walter F. Suhaka's retirement, the positions of Chief of

 Police and Deputy Chief of Police were not covered under a. Collective Bargaining Agreement

 and as such Chiefs and Deputy Chiefs were required to negotiate their own retirement benefits

 with the Defendant, Township of Wayne..
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       4.      The Plaintiff, Lillian S thaka is the spouse ofthe Plaintiff, Walter F. • Suhaka.

       5.      In June and July of 1995 the Plaintiff, Walter F. Suhaka negotiated his retirement

benefits with the Defendant, Township of Wayne. It was the parties' intent and agreement that

Plaintiffs, Walter F. Suhaka and Lillian Suhaka, his- spouse, not pay any health costs during their

retirement including the cost of health insurance premiums.

       6.      On July 19, 1995 the Defendant, Township of Wayne adopted Resolution No. 257

authorizing retirement benefits for the Plaintiff, Walter F. Suhaka.

       7.      Resolution No. 257 provided that "in consideration of his many years of dedicated

public service, Deputy Chief Walter F. Suhaka shall receive the following benefits upon

retirement:

               Insurance benefits as provided to retired Wayne police officers
               under Article XI [sic] of the current collective bargaining
               agreement between the Township of Wayne • and the Wayne
               Policemen's Benevolent Association, Loa 136, which includes
               the following to be paid by the Township: term life insurance in
               the amount of $5,000 for the employee; medical and hospital
               insurance; major medical coverage; laboratory testing and x-rays
               and prescription drug plan for employee, spouse and eligible
               dependents; Dental shall be paid if final negotiations and/or
               arbitration between PBA Local 136 and the Township adopt same
               in the 1994-96 contract. If not accepted, dental insurance
               premiums for employee, spouse and eligible dependents shall be
               paid by the employee to the Township at the current group rate."

       8.      From Plaintiff, Walter F. Suhalca's retirement until he reached age 65, the

Defendant complied with the parties' agreement and the provisions of Resolution No. 257 by

paying all health costs and premiums for the Plaintiffs' health insurance coverage.

       9.      When the Plaintiff, Walter F. Suhaka .attained the age of 65, he was informed by

the Defendant, Township of Wayne that he had to enroll in Medicare, whiCh would now be his
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 primary health insurance and Defendant's health plan would be secondary/supplemental

coverage.

        10.     Pursuant to the direction of the Defendant, the Plaintiff, • Walter F.   Suhaka

enrolled in Medicare on or about December 25, 2012 when he turned 65 years of age.

        1 1.    Since the Plaintiff, Walter F. Suhaka has been enrolled in Medicare, the

Defendant Township of Wayne has been reimbursing him.for all deductibles and co-payments he

 has made, prescription drug expenses incurred and his Medicare Part D premiums.             The
 Defendant, however, has refused to reimburse the Plaintiff, Walter F. Suhaka for the amounts he

 pays for his Medicare Part B premiums.

        12,     The Plaintiff, Lillian Suhaka enrolled in Medicare on or about March 1, 2016.

Since the Plaintiff, Lillian Suhaka has been enrolled in Medicare, the Defendant Township of

 Wayne has been reimbursing her for all deductibles and co-payments she has made, prescription

 drug expenses incurred and her Medicare Part D premiums. The Defendant, however, has

refused to reimburse the Plaintiff, Lillian Suhaka for the amounts she pays for her Medicare Part

B premiums.

        13.    The Defendant, Township of Wayne's obligation to pay for the Plaintiffs' medical

and hospital insurance is set forth in Resolution 257. That obligation encompasses the obligation

to pay for Plaintiffs' Medicare Part B premiums since. Medicare Part B provides coverage for

medically necessary services which are services and supplies that are needed to diagnose and

treat medical conditions as well as coverage for preventive services which is health care to

prevent illnesses and detect illnesses at early stages.

        14.    Since they have been enrolled in Medicare, the Plaintiffs each year,         have

demanded reimbursement of the Medicare Part B premiums from the Defendant, Township of



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    Wayne pursuant to the parties' agreement and
                                                     Resolution 257 and the Defendant has
                                                                                          refused by
   advising the Plaintiffs that the Defendant doe
                                                  s not reimburse Medicare Part B premiu
                                                                                         ms.
          15.     To date the Plaintiff; Walter F. Suhaka has
                                                               incurred Medicare Part B premiums
                                                                                                  in
   the amount of $11,059.80 and he is curr
                                              ently paying a Medicare Part B pre
                                                                                   mium of $187.50
   monthly.

            16.To date the Plaintiff, Lillian Suhaka
                                                     has incurred Medicare Part B
                                                                                  premiums in
  the amount of $2,811.00 and she
                                   is currently paying a Medicare Par
                                                                      t B premium of $187.50
  monthly.

            1 7.   The Plaintiffs have demanded that
                                                       the Defendant, Township of Wayne
                                                                                        reimburse
  them for the Medicare Part B pre
                                      miums and Defendant has refu
                                                                   sed stating that it has never
  reimbursed retirees for Medicare Par
                                       t B premiums.

      -    18.    The right to be reimbursed for the
                                                        said premiums is compensation
                                                                                        earned by the
  Plaintiff, Walter F. Suhaka during
                                      his 25 years of service to the Def
                                                                         endant, Township of Wayne.
          19.     The parties' agreement and Resolu
                                                       tion No. 257 require the Defend
                                                                                       ant to provide
 the Plaintiffs with full health insura
                                        nce coverage which includes
                                                                       Medicare Part B coverage and
 the obligation to reimburse the
                                  Plaintiffs for the Medicare Part B
                                                                      premiums that they pay.
         20.     The applicable health care pla
                                                     n in effect at Plaintiff; Walter
                                                                                        F. Suhaka's
retirement defined Medicare Par
                                   t A as being "Hospital Insurance" and
                                                                            Medicare Part B as being
"Medical Insurance" both of which
                                       are to be paid for by the Defendant
                                                                             , Township of Wayne as
set forth in Resolution 257 and pur
                                     suant to the parties' agreement.

          21.   The actions of Defendant, Townsh
                                                    ip of Wayne in refusing to rei
                                                                                     mburse the
Plaintiffs for their Medicare Part B
                                      premiums are wrongful and unlawf
                                                                          ul and contrary to the
Defendant's obligations pursuant to
                                    the parties' agreement and Resolution
                                                                          No. 257.



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         WHEREFORE, the Plaintiffs demand Judgment against the Defendant, Township of

  Wayne compelling the Defendant to reimburse the Plaintiffs for all premiums incurred for

  Medicare Part B coverage to date and compelling the Defendant to reimburse the Plaintiffs

  hereinafter together with compensatory damages, attorney's fees, costs, prejudgment interest and

  such other relief as the Court deems just and equitable.


                                         SECOND COUNT

         22.     The Plaintiffs repeat each of the allegations of the First Count of the Complaint as

  if more fully set forth herein.

         23.     The parties' agreement and the adoption ofResolution No. 257 by the Defendant,

  Township of Wayne's Council constitutes a contract between the Plaintiff, Walter F.. Suhaka and

  the Defendant, Township of Wayne.

         24.     The actions of the Defendant, Township of Wayne in refusing to reimburse the

  Plaintiffs the Medicare Part B premiums represents a breach of that contract.

          WHEREFORE, the Plaintiffs demand Judgment against the Defendant, -ToWnship of

  Wayne compelling the Defendant to reimburse the Plaintiffs for all premiums incurred for

  Medicare Part B coverage to date and compelling the Defendant to reimburse the Plaintiffs

  hereinafter together with compensatory damages, attorney's fees, costs, prejudgment interest and

  such other relief as the Court deems just and equitable.

                                          THIRD COUNT

         25.     The Plaintiffs repeat each of the allegations of the First and SecOnd Counts of the

  Complaint as if more fully set forth herein.
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         26.     The actions of the Defendant, Township of Wayne in refusing to reimburse the

 Plaintiffs the Medicare Part B premiums represents unlawful discrimination on the basis of age

 in violation of the New Jersey Law Against Discrimination, NJ.S.A, 10:5-12(a)(LAD)and the

 Federal Age Discrimination in Employment Act, 29 U.S.C. § 623(a)(1)(ADEA).

         27.     The actions of the Defendant, Township of Wayne paying all of the health

  insurance premiums and health care costs for the Plaintiffs while they were under the age of 65

  and requiring Plaintiffs to pay Part B premiums at age 65 and older is discriminatory and in

  violation of LAD and the ADEA.

         28.     As a result of the Defendant's actions, the Plaintiffs have been damaged and will

 continue to be damaged.

         WHEREFORE, the 'Plaintiffs demand Judgment against the Defendant, Township of

  Wayne for compensatory damages pursuant to LAD and the ADEA together with attorney's fees,

  costs, prejudgment interest and such other relief as, the Court deems just and equitable.

                                         FOURTH COUNT

         29.     The Plaintiffs repeat each ofthe allegations of the First, Second and Third Counts

  of the Complaint as if more fully set forth herein.

         30.     The parties' agreement and adoption of Resolution No. 257 by the Defendant,

 Township of Wayne established covenants to act in good faith and to deal fairly.

         31.     In refusing to reimburse the Plaintiffs for their Medicare Part B premiums,

 refusing to review the parties' agreement and Resolution No. 257 and refusing to discuss the

 matter with the Plaintiffs by simply stating that the Defendant, Township of Wayne. has never

 reimbursed Medicare Part B premiums, the Defendant, Township of Wayne has breached the

 covenants to act in good faith and to deal fairly.



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             32.     As a direct result of the Defendant's action as set forth herein, the
                                                                                           Plaintiffs have,
  been damaged and were forced to hire Counsel and incur attorneys'
                                                                    fees and costs         to compel the
  Defendant, Township of Wayne to comply with the parties'
                                                                   agreement and Resolution No. 257.
          WHEREFORE, the Plaintiffs demand Judgment again
                                                                      st the Defendant, Township of
  Wayne compelling the Defendant to reimburse the
                                                            Plaintiffs for all premiums incurred for
  Medicare Part B coverage to date and compelling
                                                          the Defendant to reimburse the Plaintiffs
  hereinafter together with compensatory damages,
                                                      attorney's fees, costs, prejudgment interest
                                                                                                   and
  such other relief as the Court deems just and equit
                                                      able.

                                                  SEGRETO & SEGETO,LLP
                                                  Attorneys forJ31614 s

                                                                      //
 Dated: February 17, 2017
                                                  By: \"
                                                     JOHV1J.       GRETO



               DESIGNATION OF TRIAL COUNSEL
                                                             PURSUANT TO R. 4:5-1(C)
         John J. Segreto, Esq. is hereby designated as trial
                                                               counsel.


                                         - CERTIFICATION

        John J. Segreto, certifies as follows:

        1.    I hereby certify that there is no other action pend
                                                                   ing in any other court or, any
pending arbitration proceedings. A similar suit
                                                 entitled, Pavlak and the Estate of PavIalc v.
Township of Wayne,is being filed simultaneously
                                                    with this matter.
        2.         I further certify that there are no other parties know
                                                                          n at this time who should be
joined in this action.




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        3.     I certify that confidential personal identifiers have been redacted from documents

 now submitted to the court, and will be redacted from all documents submitted in the future in

 accordance with Rule 1:38-7(b).

        I certify that the foregoing statements made by me are true. I am aware that if any of the

 foregoing statements made by me are wilfully false, I am subjeetto punishment.




 Dated: February 17; 2017




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